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Gmail - Leavitt v. Central Credit--One Week Extension request                                                                     6/17/24, 11:43 PM




                                                                                      Gregory Keenan <gwkeenan24@gmail.com>



 Leavitt v. Central Credit--One Week Extension request
 6 messages

 Greg Keenan <gwkeenan24@gmail.com>                                                      Mon, Jun 17, 2024 at 4:48 PM
 To: esperling@glaserweil.com, amiller@glaserweil.com, Andrew Grimm <agrimm3@gmail.com>, Andrew Grimm
 <andrew@digitaljusticefoundation.org>, Gregory Keenan <gregory@digitaljusticefoundation.org>, swoodnik@grsm.com

    Counsel:

    Plaintiff intends to seek a one week extension of time to respond to the motion to dismiss and to file an amended
    complaint. The basis for the extension is that one of our attorneys has been feeling under the weather and the other
    has been dealing with a personal matter. Could you please provide your position regarding this extension request?

    Thank you,
    Greg

    Gregory Keenan
    Attorney
    Digital Justice Foundation
    516.633.2633


 postmaster@grsm.com <postmaster@grsm.com>                                                                Mon, Jun 17, 2024 at 4:48 PM
 To: gwkeenan24@gmail.com


    Delivery has failed to these recipients or groups:
    swoodnik@grsm.com

    The email address you entered couldn't be found. Please check the recipient's email address
    and try to resend the message. If the problem continues, please contact your email admin.




    Diagnostic information for administrators:

    Generating server: DREXCH07.gordonrees.com

    swoodnik@grsm.com
    Remote Server returned '550 5.1.10 RESOLVER.ADR.RecipientNotFound; Recipient not found by SMTP address
    lookup'

    Original message headers:

    Received: from DREXCH03.gordonrees.com (10.80.100.123) by


https://mail.google.com/mail/u/0/?ik=906f3e0d14&view=pt&search=…pl=msg-a:r6961499170725226932&simpl=msg-a:s:1952139986300535433         Page 1 of 8
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      DREXCH07.gordonrees.com (10.80.100.127) with Microsoft SMTP Server
     (version=TLS1_2, cipher=TLS_ECDHE_RSA_WITH_AES_256_GCM_SHA384) id
     15.1.2507.39; Mon, 17 Jun 2024 18:48:35 -0500
    Received: from fwppagent01.gordonrees.com (10.85.102.112) by
     DREXCH03.gordonrees.com (10.80.100.123) with Microsoft SMTP Server
     (version=TLS1_2, cipher=TLS_ECDHE_RSA_WITH_AES_256_GCM_SHA384) id
     15.1.2507.39 via Frontend Transport; Mon, 17 Jun 2024 18:48:34 -0500
    Received: from pps.filterd (FWPPAGENT01.GORDONREES.COM [127.0.0.1])
            by FWPPAGENT01.GORDONREES.COM (8.17.1.19/8.17.1.19) with ESMTP id 45HJaJJK025858
            for <swoodnik@grsm.com>; Mon, 17 Jun 2024 16:48:34 -0700
    Authentication-Results: GORDONREES.COM;
            spf=pass smtp.mailfrom=gwkeenan24@gmail.com;
            dkim=pass header.s=20230601 header.d=gmail.com;
            dmarc=pass header.from=gmail.com
    Received: from fwironport01.gordonrees.com (FWIRONPORT01.gordonrees.com [10.85.102.183])
            by FWPPAGENT01.GORDONREES.COM (PPS) with ESMTPS id 3ys8xd3seb-2
            (version=TLSv1.2 cipher=ECDHE-RSA-AES256-GCM-SHA384 bits=256 verify=NOT)
            for <swoodnik@grsm.com>; Mon, 17 Jun 2024 16:48:34 -0700
    X-CSE-ConnectionGUID: UWLqfPdrSMKfp5zDhZfqHA==
    X-CSE-MsgGUID: O7O3D5ClRXOBM0IdopE4Qg==
    Authentication-Results: fwironport01.gordonrees.com; dkim=pass (signature verified)
    header.i=@gmail.com
    IronPort-SDR: 6670cb50_u6cULIOZgcwgj/NRPGlPZnDKLhJObMjrw31rCOCSkL9pcHQ
     OmI830jdl3qya8sOXzf0siWks07OQjwgByC4YNw==
    X-ThreatScanner-Verdict: Negative
    X-IPAS-Result: =?us-ascii?q?A0DJBQAWynBmf7SAVdFXAx4BPAwCCzqDboFVQ0iEVYEjj?=
     =?us-ascii?q?iWCIotHMAKHT4N1hHyBV4F9DwEBAQEBAQEBAQlEBAEBPgEPhDiIdwImSwECA?=
     =?us-ascii?q?QECAQEBAQMCAwEBAQEBAQEBBgEBAQQBAQECAQEGBAEBEwEBIhkHDg4phXQNg?=
     =?us-ascii?q?mcBg2giER0BGx4DEggBBzcCIwERAQUBIgE0gl6CMAEDMQMFoXqBBUKLO4EVB?=
     =?us-ascii?q?QIWgQGCDQbaWgoZKA1sA4FgAgcUhholW4JLAYFVAgKEI4NGgSGCKIFKgkSBW?=
     =?us-ascii?q?hoBg14mgxSCaQSZPRuCFYl9JguMXyYBBwcXAwcHBwQFBBwGBQMCAkIJBwEPE?=
     =?us-ascii?q?gMEAwQEAQILCQoJAwMCDgIIAwIIBg4TAT8SBBMCCAkECwMEAgUKAwgCAgcCD?=
     =?us-ascii?q?gEFAgEBAgICAgICAwYCEgQCAQIDAgIIAgcBAQIKBwMBAQIGBAMGAgIFBA0DC?=
     =?us-ascii?q?wEBAgIEAQoCCQ8FAgIDAgMBAQECCgMJAQUCAgEDAgIEBAcBBgMFAwMEBAMCA?=
     =?us-ascii?q?wMCDAEFAQUBBQEFBAIGARMCCwcCAgsFBgMGDgMLBAQBAgIHBgwJBAICAgYBA?=
     =?us-ascii?q?hEDAQIBBwEDAwIKAQQBCwgBBQgIAQQCAwYQAggFBgUCBAEBAgICCAYPAwYHA?=
     =?us-ascii?q?gMCBgMFBQMDAgICBwQEAgECAgIBEwYEBAIDAgMEAQUEBAMCFwgOAgUHAQkKC?=
     =?us-ascii?q?QwBAgYCBAIEBwMGBAUEAgMCBBEHCwMCAwQCAgQDEQIDBAIKAgQEBwIDAQEMB?=
     =?us-ascii?q?gQECgILAwUBAQIFAwMJBwYCAwMFBAYCBQMDAwIDAgkCAgIBCQEBAQISAgMOA?=
     =?us-ascii?q?gQCAQIFBQwEEwICAwIGCAICAgcDAwQCAwYLAQIRAgICBQMEAgIUAwcEAgQFA?=
     =?us-ascii?q?gQBBgMDAgQGBQgEAgIFAgEBAggCAQ8KBAIBBAMFAwcJAgUFAwIEAgIFCQEBA?=
     =?us-ascii?q?gICAwMDAwMCAgMDAgcDAwMHAwUDBAIDBgUHAwUDAwICAhQBBgIFDQgGCwUFB?=
     =?us-ascii?q?wIGAgQIBQICAwMDAgYKCAMDAwIFAgIDAwECBg8GAgIDBQYDAwMDBgYDAwIGA?=
     =?us-ascii?q?wMCAwIDAgMDAQMCAwECAwICAggCAgMCBQQFAgICBAIIGgICAgIDAwgDAwoEA?=
     =?us-ascii?q?gIEAQQCBAIEAgYDBAICAQcCAwMCAwIHAgIEAgICAgMCBAcCAgMDAwICAgEJA?=
     =?us-ascii?q?gUBAQYCAwMCAwUDCQMEBQIDCAEBAgIHBwMDBAMBAgEFBAICBgUCAwICBAIEB?=
     =?us-ascii?q?QMCAwIGBgIBAwIKBgMFAwMDAwIDAwIDAwIFAggCAgQEBQQCBQQCBAMDAwEKA?=
     =?us-ascii?q?gYDAgIFAQECAgUDAgQEBwICAgcPAwIHBQIFBQUCCAEGBQICAwIGAQICBgEGA?=
     =?us-ascii?q?gQBAgINAQECAgIDBAMDBwIEAwIIAgMDDwEDAwkGBQQFBAMJBA8CBAEIAwEBB?=
     =?us-ascii?q?AgCBAMCDAICIQIFCwQEARIKCAMBAQMBAQICAgICDgMCAwICAwoCAwIKAwYEA?=
     =?us-ascii?q?gIGAQEBBAECAwEBAwIBAgcEDgQFBQgIAQMCAQoBAhAFAhAJAwcEAhAGCgUDA?=
     =?us-ascii?q?gMFAQIFFQMIAwIJAgQMAw0DAwIGAwYCBgEGAwcLAQEHCAUDAwMCFgECAg8IB?=
     =?us-ascii?q?AYPBwIDAwMEBQcDEgIGDgMDAgMCAQICAgMFBAUCBwMDCgUCCAMCCAUDBwkEC?=
     =?us-ascii?q?gIKAgYDAgICAgUMAQEBAQIDAgUDBwcICAQFBAMBAQYGDCACAgMEDwMJAwYLA?=
     =?us-ascii?q?QUFAQMCAgIOAwUDAgMGBgEJBAEFBAkCBQcGBQIBFBYHBgIKAgcCAgIDAQIIC?=
     =?us-ascii?q?wgCAwIKBAEOBBkCAgIBAQICAwMHAgMCEwMDBQQGAwICAgIDAgEKCwMCAgMDA?=
     =?us-ascii?q?wMFBQMDAhkDAwIBCgUCDAUEAwQCAgECHQMBBQIDCgEFCQMGAgIDAgUCAwYEA?=
     =?us-ascii?q?gQBDgEBAQMGCwkUAgICCQgDCAMFDQINAgMFAgILQQsFAQEEAwEBCgEXLQIEA?=
     =?us-ascii?q?gYMAQEBAgMDBgICAhUFBwMFAwgBAwECFAgGAgEDCgoCAgQCBgIEAwIKAwEIA?=
     =?us-ascii?q?gICDwMJAgcCDgICAwMMDwQDAwMDCQICAhEJCgICAgwICgIJAgIDAwYBAgMDB?=

https://mail.google.com/mail/u/0/?ik=906f3e0d14&view=pt&search=…pl=msg-a:r6961499170725226932&simpl=msg-a:s:1952139986300535433         Page 2 of 8
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     =?us-ascii?q?QMCAQEBBC8CBAcBAwYKAwICAgkICgkDAwUDCgIBBgYBAgMOAQECEwQJAwIBA?=
     =?us-ascii?q?gEBBggBAQIEAQQCCAYCAgICCgMFAwIDBRUFBAICGQMCBAUDBQMDBAcBAgYED?=
     =?us-ascii?q?QkDBQMCBAMDAgQEAgkFCQQDCwYBAQEDBAMBAQgHBwMCAQEDAQECCgYFCA0IA?=
     =?us-ascii?q?wgDBgkDAQYBAQUaAwMOAgICAwIBCgYIBQIDBg4CBAIaAQwDAQMDBQ4EFAMEB?=
     =?us-ascii?q?QICDwwBAgMDBAUDBQICAgMCAgIFBAECBAIEAQgECQECAgIDAgEBAgIEBgUCA?=
     =?us-ascii?q?gIDAgcMBwMEAwcCBgIDAgcLDAIDBgUFAwUCHgIDAgIEAwMdAQQBBAECAwICA?=
     =?us-ascii?q?wIDBAEDAwIBAQEBAQEDBwICAgQBAQEEAwMFAgICAwwCAQMDAQEGAQMBAg8FB?=
     =?us-ascii?q?QYEAQUIAwIUAwUTAgUBBwIPBQgBKwEEAgIBAj0CAgMEDQgFAgIHAgQNAgQPB?=
     =?us-ascii?q?QMDDgcBFQgBBAgEBQQEAgUIBQUDCBIHAhYKCgEBBAQCBwEEAgINAwcCAgwCA?=
     =?us-ascii?q?gYEAgEDByMGAwYJAwIFBRcCAhICBAMFCQQIBAQeAwECCgICAh0CAgcBAjAEA?=
     =?us-ascii?q?yAdAgkDIw8DCwkIEz0BCwcuBAQMCCABBg4UByshXxCtFRlDN4FcKi+BRQEBo?=
     =?us-ascii?q?3ufTXAnCQEGAl+BZoEIHCwFoUYEL4QFjQCZNJhlIKM4hSERIxKBSg0TgVszG?=
     =?us-ascii?q?iOBAW2BSU8DGQ+OOINjyykmMjsCBwEKAQEDCYkigUYBAQ?=
    IronPort-PHdr: A9a23:QS8rGhQUuogRaHNk7VL8BoriQ9pson2bAWYlg6HPa5pwe6iut67vI
     FbYra00ygOTDMOAsawP0baempujcFJDyK7JiGoFfp1IWk1NouQttCtkLei7TGbWF7rUVRE8B
     9lIT1R//nu2YgB/Ecf6YEDO8DXptWZBUhrwOhBoKevrB4Xck9q41/yo+53Ufg5EmCexbal9I
     RmoqQjdrMcbjZVjJ6o+1BfErWZDdvhLy29vOV+ckBHw69uq8pV+6SpQofUh98BBUaX+Yas1S
     KFTASolPW4o+sDlrAHPQwSX6HQTS2kbjBVGDRXd4B71Qpn+vC36tvFg2CaBJs35Uao0WTW54
     Kh1ThLjlToKOCQ48GHTjcxwkb5brRe8rBFx34LYfIeYP+dlc6jDYd0VW3ZOXsdJVyxAHIy8a
     ZcPD/EcNupctoXxukcCoQe7CQSqGejhyCJHhmXu0KI10+ovHwLI0hE+Ed0Sq3nbtsn5Ob0IX
     Oyp0KXFzzPOZO5W1zfn74jIdwgsr/CWXb1ufsra1EwhGB3bgVWWs4PlOS6e2+MCs2mV7OpvS
     /ygi2g9pAF3vDSiydwhiobMho0Py1DE8T91z5oyJd29UUN2Z8OvH5RMuS+ALYR2Xt8iTH9yu
     CY80rALt5G2cicUxZkp2hPSdvyJfoiV7h/hSuqdPTd1iX1kdb+7mRu+70atx/H9W8Wo3ltGs
     jZJn8XDu34D2BLe6MiKR/1g9UmiwTaCzx7f5v1ALEwulqfWK4QtzqMumpcQq0jPAyz7lFnwg
     aSLbEsr4PKo5P7iYrj+pp+TKYt0igbmP6QrgMO/AOA4PhEOXmmV5OiwzbPj8VD6TblWlPE2n
     a7ZsJfVJcQfuKG1GRNa0oEm6xqnDjem1soXnWUfIV5bZB6Ki5LlNlLOLfziEPuznVehnC12y
     /3FIrHtGpDNIWLCkLflc7Z98UlcyA8rwNBQ6ZNUCa8OL+z1WkDrstzUEBA0Phe7w+biEtp91
     4ceVXiTDa+eNaPeqVmI6fk3LOmWeIAVoCr9K+Qi5/P2kHM1gUUdcrWx3ZsLdHC4GexrI16XY
     HrrhdcODGEKvgs9TOHxh12CSyVTZ3OoU60g4TE7DZqqAprARoCshbyMxD21E4FLaG5bElyMC
     m/od4ucVvkUcSycOsBvniQfVbi5RY8uzRGuuxH+y7pgNufa4jQWu4rs2os92+qGmAoq+CZwD
     sKS+26JRnp5hHwFRjtw16d65QR0z1aH1aViq/NcHMde/exEUwN8PpnZi6RTDdzoVx2JUc2IT
     VPuFtypGzA0S4kZzNoHYkI7ENKn2FSL9iymGbIK35ORBZkxuvbV2XTrKtlVx3fJ1bUoi1s7W
     ddOPmCogbN5+wHPBonP1UKDmPDuPYsG0SHK7nbL7meDukheGFp/S6jKWmoOTkfXotXl70fAU
     qSyCL8qPAxcz8KLNqpNbJvul1oQAL/4J9PZb2SwmE+/Hw2NgLiLadnEYWIYiQrHBUdMsA0e+
     3+AfVwxGSSsrmTXCmYyPV3qakLot+J5rSXoHQcP0wiWYhg5hPKO8RkPiKnZEqtLtlp5kDl08
     mY8FQOnxNuTENqJ/Vc/L+1XNMkw5F5X2G6erQF5N4ytI/MH5BZWO0w/9wum20B4D4xBlY4hq
     3Z5hBEnc/rCiwsfL2rLlYylY+KOejesrEn2Mv2eygSHj4/HoPhVua1h+B3vtRuvQ0U46HAh2
     N5QgB7+rt2CREJaGdrxB1owpQNnrbPXaTVv4o7PznRjPOy1vm3O0s4kVuU/zRPyetZaPeaaG
     RXpEsocVca0L+l4h1/7ZRlWJ/1Y9qM/I6bEP7POkObjdK4ozj6vkWkV5Y1myUuD+m99RrzS0
     o4B0rSE2VjiNX+0xB/p+oi/k4ARYXYJAEmW6za6IYJAaK1dd58yLGD0Osay5/Ek2sHtCi5E+
     QWACktd092odk/BCj61lUUYnQxf6XbykyD/xgM3vANyiPC/xxOX2urdTCBcNylRHFJpilDMG
     aqPrYw8eWqEUigTywuAyHfh4fELmallBG+MeWNJejnUFT5cN8n4/vLKK4YHoNs4mgNLVOb/Y
     HWKS+fQmTge3yX/RVAA1TN8RguOi7L7mBZ4lV6UfWxXlVOHduR6wj72+Z/hfd5U0WRYHyhps
     Ab0XFm2brzLtZ3c39+L+qj2UV2gZ7FIVgPg9JHemnKL5TxICCObgc2vodzgIyMU1C6m0PBJR
     SyWrhnBXaDPjI+0YMNlXgpWJA7MxO1kH4xBubthrat1uzBSzt3dtTJP2U76Fsx2wp71MXQxZ
     QdX5u6Nx0/cxUxyJH2H/KnLZEm94JFiXN63Y28T1j9kzZwTKam/q7YfrBtVuHPkghLpS/dAz
     jExrJlmoDZSy6lB8EILlR28BYoRPFJ0D3Duhz2B646fpbdaala3LJO9+RRUndqaI46MngJ5a
     DXBV7YzRAV88t1Bc2zc7VrdtsLiatz2UtgU53j221+Ix6AdYNp5xsoyrH8yairt+Hw/zOgji
     gZymIu3p5WDNzB19bmiUXawVxX7eMIJ/Tf1irxCxp/Q0Ie1EpJnADgGR93jSvf7WD4RtPGyL
     w+VC3V8sXaUH7PDABWSoFlrtXPBEp2ndjmXKXAVwM8kRUy1K0lWgQRSVzI/9qM=
    IronPort-Data: A9a23:PWvidqztGMDSVVMPOa96t+frwirEfRIJ4+MujC+fZmUNrF6WrkVWm
     2EYX2DSPPmKYWD0c9okaYTi90kG78KEm9RqHQQ4qC00HyNBpOP7XtnIdU2Y0wG6d5aaFB09h
     yk9hngsCOhuExcwcz/0auCJQV9Ui/3QHtIQL8abZnsuLeNcYH58z0olwqhh2dYAbeGRW2ulo
     cn1r9DUJGir0jt1NnN8w6+YoXuDhtyr0N8jlgJ4PaAjUGP2zSFPUMpBfP7pcBMUf6ENdgKEb
     7ebpF2G1j6Bl/sdIovNuqr2dEQMXonTMWCm4paBc/H/6vTqjnVaPpcTbJLwW28O49m6t4kZJ
     OF2iHCFYVxB0psgNwgqe0Iw/ylWZcWq8ZedfCnl6ZT7I0fuKxMAyN02ZK060BFxFutfWQlzG
     fIkxD8lUy+nnuyOzKiAb8pinpkxAMnZMpo/kyQ1pd3ZJa5OrZHrRqzL4ZpJw251iJkeRbDRY
     M0WbTcpZxPFC/FNEg1PWdRuwaHx3Cm5Km0AwL6WjfJfD2z7wxNy3bXrOdyPJvSFQMxUmgCTo
     WeuE2HRXkxDbYbGk2rtHnSEobDoxg+mc4YoJJqS06ZLjFqL6zAqB0hDPbe8iaLk0xbhCow3x
     1Yv0jExqq8+8k2oZtbnRBj+q3mB1iPwQPJVGuw+rRCSk+/aulbBQGcDSTFFZZots8peqSEWO
     kGhouzNHDJXvKeubFGT7uqGgTOANzE1BDpXDcMbdjct797mqYA1qxvASNd/DaK45uEZ/xmgn

https://mail.google.com/mail/u/0/?ik=906f3e0d14&view=pt&search=…pl=msg-a:r6961499170725226932&simpl=msg-a:s:1952139986300535433        Page 3 of 8
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     FhmSwBu190uYd436kmtwbzQb9uRSnXhSwc04kDGQTvg4FopPMiqYIun7VWd5vFFRGp4crVjl
     Cle8yR9xLlRZX1oqMBraLtXdF1Oz6jeWAAweXY1Q/EcG82FohZPh7x47jBkP1tOOc0ZYzLva
     0K7kVoOvc8NYCryM/UpO93Z5yEWIU7IRYuNuhf8PoomX3SNXFbclM2TTRfMgTCwzRF2+U3BE
     c3LKZ/xZZrlNUiX5GHrHr9CgOFDKtEWymTUSpT2hxWh2vz2WZJmYeZtDbd6VchgtPnsiFyNr
     b53bpLWoz0BCrGWSneMquY7cwtaRUXX8Lis9KS7gMbYclQ4cIzgYteNqY4cl3tNxP8NyLiVp
     CrhBCe1CjPX3BX6FOlDUVg6AJvHUpN2rHZ9NispVWtEEVB4CWp2xP5HLMtlTqpt7+F50/9/Q
     t8MfsjKULwFSS3K935ZJdPxpZBrPkbjzw+fHTuXUB5mdb5ZRivN5oDFeCnr/3IwFSaZj5Y1j
     ICh8QL5eqA9YTpeIvzYU9+V9GPpj0MhwLpze2DqPuhsfF7d9dk2Ci7p0d4yDcI+CTTC4Tq40
     QypLw8SjrTPqdVt8f3ip6ONn6G2GcRQQ2tYGGj66+6tFC/4p2CM/65JYNyqTxv8Clzm2fyFT
     vpH6t3BK9s7pUZun6sgNqd0l4QsysDKpY5K6ihFR1L1N0+KDJFkKVm4hfh/jLVHnOJliFHnS
     3Cx9cl/EpTXHdHuD3o6BhcvN8aH3tEqwgji1+w/ehjG1XUm7Yi8cBtgOjeXg3ZgN5pzCoQux
     NkhtOMw6wCSjhkLMM6MvhtL9lajf2AxbKE6iq40WIPbqBIn6lVnU6zuDiXb5JKuadIVFmIIJ
     jSSprTJhpUC507kXkcwK0Pw3rtmtcxTgCxJ8V4MHETWu9zngvRs4gZd3w5qRStozzJG8dlJB
     E5VC2NPK5+zoghY3Pp4Yzj0GiVqJgGoxUjq+l5YyEzbVxaJU0LOHk0cOMGM3kYTzExEdBMG/
     rvCkGfBehTpdfHXwSEddxNEqfvibNop7SzEupmtMPqkFqkAQwjOo/GRd0tRjDD4E+YduVbhm
     dB62MpRNYjqKnQ2sYAgLourxZA8aUujGjRZYPdD+KgpIzntSAuq02LTF3HrK9J/GfPa1GSZV
     el8Ld1rfDaj3n+sqjs7O/Y9E4VslqR02OtYK6LZHk9Ygb6xtTEzjYnx8BL5j2oVQ9lDt8YxB
     4fSVjCaGFyrmnpmtD7RnfZAJ1aHT4EIVC/k0MCx1dc5JZYJneVvUEM1i5+fnXGeNil59BO14
     iLHQYLrzNJZ9Ic9pLu0T51/BDi1J+jjC8WO0gS46OpVYf31bMzhigIyq3vcBTpwA4c/YdpMu
     IqojM/Wx2LA5bY/bHDYkcKOFo5P/sSDY9BUOcPWclhfxCuLZ9Dw7isI60SHGIxuvPpA1JP2W
     TnieM+UcPgLUex831xQUTBVSDwGOpT0b4DhhCKzlOuNAR4jyj76LMur2HvqTGNDfAkKMI3aJ
     i6tnNj2/fFejoBHJCFcNsFcG5UifWPSA/o3ReP+pRyzLzeOgGrbnpDAiBB5yzXAKkfcIfbA+
     ZifGyTPLkWjiprpkuNcnZd55CAMLXBHhuI1QEIR1vh2hx2+D08ENe4tCooHOL4Fjh3N0IzEW
     x+VYFsAESndWRF2QSf46vnnXSadAbUqEfX9LToL4UiVSnmXAKWtPbhfzRpjskxGImbb8OKaK
     N8goyy6elD7x5xyXu8c68CqmeotlLuQ2nsM/lu7iMDoRQoXBbIRznF6AQ5RTmr9HtrQkFnQb
     30ALYyerJpXlWaqeSqrR5KZ9Nz1ct8iI/XEoBpjGOrihrg=
    IronPort-HdrOrdr: A9a23:KbGbUan8NhlPwtrnmDmSoXQ3s+bpDfIE3DAbv31ZSRFFG/Fw9v
     re+sjzsCWftN9/YgBDpTntAtjifZq+z/5ICOsqTNKftWDd0QPCEGgI1/qH/9SPIVyYysdtkY
     hnaLZ3E9D9ABxXiszg8BCkH9tI+rW6GWOT6ts2DU0BceinUc9dBs5CazqmLg==
    X-Talos-CUID: =?us-ascii?q?9a23=3AxF26amp0TTIaJC/1laR+RWHmUf0aVmTT9HvKGGq?=
     =?us-ascii?q?bB340WpGVe1GJ2Ioxxg=3D=3D?=
    X-Talos-MUID: =?us-ascii?q?9a23=3AXhlrqAz4a7Qp5mEfUq1Y7PXJkt+aqIPxLxshzL4?=
     =?us-ascii?q?CgfmjHwkoGjualBnre4Byfw=3D=3D?=
    X-IronPort-Anti-Spam-Filtered: true
    X-IronPort-AV: E=Sophos;i="6.08,246,1712646000";
       d="scan'208,217";a="45112128"
    X-DKIM-MONITORING-Results: PASS
    Received: from mail-yw1-f180.google.com ([209.85.128.180])
      by fwironport01.gordonrees.com with ESMTP/TLS/ECDHE-RSA-AES128-GCM-SHA256; 17 Jun 2024 16:48:33
    -0700
    Received: by mail-yw1-f180.google.com with SMTP id 00721157ae682-62cddff7f20so48510647b3.3
             for <swoodnik@grsm.com>; Mon, 17 Jun 2024 16:48:32 -0700 (PDT)
    DKIM-Signature: v=1; a=rsa-sha256; c=relaxed/relaxed;
             d=gmail.com; s=20230601; t=1718668111; x=1719272911; darn=grsm.com;
             h=to:subject:message-id:date:from:mime-version:from:to:cc:subject
              :date:message-id:reply-to;
             bh=l/svKAJv6MdyfhGbqQMo2qcmIL257h98te3Kep3czig=;
             b=bc/aW+GZ3N2HsW1qfWPR3e/r0ScooHPJSJ4NMJDUHR7xMEYsN18UerCn7PLimyJR7V
              xCNtlj+iMxi1ERKldnt2S6yk/YRLYOjobjuTa9rLQA6gMboAAu+UPHmg663iyQWK2ib9
              nWiYDsOBcQz6F1Xh9JaVLvUtSioZCFmi5oAKxa6jgUWAL3Cf9IjH+VH9XGOvmeWCX9AR
              AaOqEsTc5fTHQ4MX0O/QuiybgfSCZZTHJ2kSoeidmdu1J41IfC/b3YXHrA4GxPBgU8nD
              N3PIoRkIsDZ4jxAal6IazefXp5CeE6BhbSGWfTkMX+PEIy1BdtpV+VxUOF4+nzmNWbo9
              8XPA==
    X-Google-DKIM-Signature: v=1; a=rsa-sha256; c=relaxed/relaxed;
             d=1e100.net; s=20230601; t=1718668111; x=1719272911;
             h=to:subject:message-id:date:from:mime-version:x-gm-message-state
              :from:to:cc:subject:date:message-id:reply-to;
             bh=l/svKAJv6MdyfhGbqQMo2qcmIL257h98te3Kep3czig=;
             b=NXUd2DKAheRusP0wRhs7w8c6XSaEAzESMft2qbKm38km9T/xkoQFwnpBgAuyJeg50y
              HgSvOyMdlzYrbG1OckmJyrGO12yKlyh5Cvqc2cudVfeVgdtyj0GnVVfPlEci6VaHgWCo


https://mail.google.com/mail/u/0/?ik=906f3e0d14&view=pt&search=…pl=msg-a:r6961499170725226932&simpl=msg-a:s:1952139986300535433        Page 4 of 8
                          Case 2:23-cv-01817-RAJ Document 23-1 Filed 06/17/24 Page 5 of 8
Gmail - Leavitt v. Central Credit--One Week Extension request                                                                     6/17/24, 11:43 PM


             Otbbi5UrxWwK46+/ATCAxvG32xcRw5gO9/hLt7OfnaIOSTFZU4WYjHZ31TdeIYem9lmc
             MUeOtFZJ6phd/y+RP3ahlRPGK7Hax5pNG69IbzV64DXFrXo9mbkQn9CsD5AAnquHtTZC
             hRzLZF/alzfYyMQ1EqO7uciz0tPhbF3eQC8AXq4mm2QIczhsJb4ZgIlqsTFOQTc+FHEc
             jFGw==
    X-Forwarded-Encrypted: i=1; AJvYcCWMi0zrU87gM4hg5qgeHAjqIMT3zzd1GQAO4FsjgUPSajaGBBHUpRL8
    2vSmwFqtg0YwW3c4euDfcIhqVlcYulIzxw==
    X-Gm-Message-State: AOJu0YxSLFT5579rVPBaRGH7NvJN5r7aXdsBM/HiCE6vAN4sL7zeyfUM
            fG/FVyZPCz6NVwKNB+lpmPgUh7LYndDJ3ivG+ypC9ds3ZxK5sdQe5rOGmx3yF6LhvtkrKcixQX/
            HeHdm8px9qVpLAlJ0SD+zxdyLr8DOQQ==
    X-Google-Smtp-Source: AGHT+IGGVLNyHNzz157XvACN+NCRcBVnCufQgEErWPOahFx/
    RKAb9khrgdPYw7TOiMowiBGA6v2ya0nc7KbHQFxpfM8=
    X-Received: by 2002:a81:7144:0:b0:62c:e74d:8152 with SMTP id
     00721157ae682-632224543b5mr89455597b3.19.1718668111579; Mon, 17 Jun 2024
     16:48:31 -0700 (PDT)
    MIME-Version: 1.0
    From: Greg Keenan <gwkeenan24@gmail.com>
    Date: Mon, 17 Jun 2024 16:48:20 -0700
    Message-ID: <CAEd+yUXLFw2cQrj5J-jBZNEupio39bCpJpctWT+SWWhyog5-Xw@mail.gmail.com>
    Subject: Leavitt v. Central Credit--One Week Extension request
    To: <esperling@glaserweil.com>, <amiller@glaserweil.com>, Andrew Grimm
            <agrimm3@gmail.com>, Andrew Grimm <andrew@digitaljusticefoundation.org>,
            Gregory Keenan <gregory@digitaljusticefoundation.org>, <swoodnik@grsm.com>
    Content-Type: multipart/alternative; boundary="00000000000047180c061b1e9a14"
    X-Proofpoint-ORIG-GUID: tUpMzLqmvl1TUFnNVctGFaq5a9J-eD0P
    X-CLX-Shades: MLX
    X-Proofpoint-GUID: tUpMzLqmvl1TUFnNVctGFaq5a9J-eD0P
    X-CLX-Response: 1TFkXGBIeEQpMehcZGx0RCllEF2ZoTlwbX38ZE11IEQpYWBdmWWcZAR57XG5
    QRxEKeE4XY1Nja3sTWH4aX14RCnlMF2hCbGheSUd5ZH17EQpDSBcHGREKQ1kXBxsdHhEKQ0kXGg
    QaGhoRCllNF2dmchEKWUkXGxNxGwYZEncGGxkfBhkaQhIGGgYbGhoGGnEaEBp3BhoGGgYaBhoGG
     gYacRoQGncGGhEKWV4XbGx5EQpJRhdNRVhORURYT09ZdVpYRU5fSV5DRUQHXEcRCklHF3hPTREK
    Q04XXn9aZ1BmW0dcRht+f2xEZHxJXm1sS1sfSxNgB09uGnoRClhcFx8EGgQZHBwFGxoEGxoaBBs
    ZHgQZGRAbHhofGhEKXlkXTlpHBV4RCk1cFxgTEhEKTFoXaGlNa2sRCkxGF29ra2traxEKQk8XaE
     V7AXxPT39JHUcRCkNaFxgaEwQSHwQbGBIEGxIaEQpCXhcbEQpEXhccEQpCXBcbEQpeThcbEQpCS
    xdjU2NrexNYfhpfXhEKQkkXY1Nja3sTWH4aX14RCkJFF21NZkcSXUcBaRgZEQpCThdjU2NrexNY
    fhpfXhEKQkwXZllnGQEee1xuUEcRCkJsF2gfTnNHb2VFEkEfEQpCQBdhc3h+HFITYx4aZhEKQlg
     Xbn9jHXAbT0VffkcRCk1eFwcbEQpaWBcZEQp5QxdrR39/GBxbYUNNXhEKWUsXGxofGRwRCnBoF2
    ZnZGNZWGMFXWQbEAcZGhEKcGgXY1J7W25QTUl/exoQBxkaEQpwaBdvW2x/Q2NcaFJsbhAHGRoRC
    nBoF2dbbFN4eUVJaHthEAcZGhEKcGgXYllsfGJTUE8Sa0EQBxkaEQpwaBdtcmZcBRlNXHl+ThAH
     GRoRCnBoF2hfeRlMQB5lUhlyEAcZGhEKcGgXem1ITENwb0VbG20QBxkaEQpwbBdjY215ARx/ZB1
    dbxAaEQptfhcHGxEKWE0XSxEg
    X-Proofpoint-Banner-Trigger: inbound
    X-Proofpoint-Virus-Version: vendor=baseguard
     engine=ICAP:2.0.293,Aquarius:18.0.1039,Hydra:6.0.680,FMLib:17.12.28.16
     definitions=2024-06-17_14,2024-06-17_01,2024-05-17_01
    X-Proofpoint-Spam-Details: rule=inbound_notspam policy=inbound score=0 clxscore=284
    adultscore=0
     priorityscore=317 unknownsenderscore=20 phishscore=0 impostorscore=0
     suspectscore=0 spamscore=0 malwarescore=0 mlxscore=0 bulkscore=0
     lowpriorityscore=0 mlxlogscore=414 classifier=spam adjust=0 reason=mlx
     scancount=1 engine=8.12.0-2405010000 definitions=main-2406170184
     domainage_hfrom=10536
    Return-Path: gwkeenan24@gmail.com


    Final-Recipient: rfc822;swoodnik@grsm.com
    Action: failed
    Status: 5.1.10
    Diagnostic-Code: smtp;550 5.1.10 RESOLVER.ADR.RecipientNotFound; Recipient not found by SMTP address
    lookup


https://mail.google.com/mail/u/0/?ik=906f3e0d14&view=pt&search=…pl=msg-a:r6961499170725226932&simpl=msg-a:s:1952139986300535433        Page 5 of 8
                           Case 2:23-cv-01817-RAJ Document 23-1 Filed 06/17/24 Page 6 of 8
Gmail - Leavitt v. Central Credit--One Week Extension request                                                                     6/17/24, 11:43 PM




    ---------- Forwarded message ----------
    From: Greg Keenan <gwkeenan24@gmail.com>
    To: <esperling@glaserweil.com>, <amiller@glaserweil.com>, Andrew Grimm <agrimm3@gmail.com>, Andrew Grimm
    <andrew@digitaljusticefoundation.org>, Gregory Keenan <gregory@digitaljusticefoundation.org>,
    <swoodnik@grsm.com>
    Cc:
    Bcc:
    Date: Mon, 17 Jun 2024 16:48:20 -0700
    Subject: Leavitt v. Central Credit--One Week Extension request
    Counsel:

    Plaintiff intends to seek a one week extension of time to respond to the motion to dismiss and to file an amended
    complaint. The basis for the extension is that one of our attorneys has been feeling under the weather and the other
    has been dealing with a personal matter. Could you please provide your position regarding this extension request?

    Thank you,
    Greg

    Gregory Keenan
    Attorney
    Digital Justice Foundation
    516.633.2633



 Greg Keenan <gwkeenan24@gmail.com>                                                      Mon, Jun 17, 2024 at 5:53 PM
 To: esperling@glaserweil.com, amiller@glaserweil.com, Andrew Grimm <agrimm3@gmail.com>, Andrew Grimm
 <andrew@digitaljusticefoundation.org>, Gregory Keenan <gregory@digitaljusticefoundation.org>, swodnik@grsm.com,
 Andrew Grimm <andrew.b.grimm@gmail.com>

    Counsel:

    Following up. I see that Ms. Wodnik's email address was mistyped in the original email (and bounced back), so I am
    recirculating this email so as to include her in the email.

    Could you please provide your position regarding Plaintiff's intent to seek a one-week extension of time to respond to
    the motion to dismiss and to file an amended complaint in the Leavitt v. Central Credit matter. I am available to confer
    by phone this evening, as well.

    Thank you,
    Greg

    Gregory Keenan
    Attorney
    Digital Justice Foundation
    516.633.2633
    [Quoted text hidden]



 Alexander Miller <amiller@glaserweil.com>                                          Mon, Jun 17, 2024 at 8:12 PM
 To: Greg Keenan <gwkeenan24@gmail.com>, Elizabeth Sperling <esperling@glaserweil.com>, Andrew Grimm
 <agrimm3@gmail.com>, Andrew Grimm <andrew@digitaljusticefoundation.org>, Gregory Keenan
 <gregory@digitaljusticefoundation.org>, "swodnik@grsm.com" <swodnik@grsm.com>, Andrew Grimm
 <andrew.b.grimm@gmail.com>


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                           Case 2:23-cv-01817-RAJ Document 23-1 Filed 06/17/24 Page 7 of 8
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    Hi Greg,



    We will stipulate to an extension that also re-notes the motion to a week later so we have sufficient time for our reply.
    Please send over a draft stipulation when convenient.



    Best,

    Alex




                                 Alexander Miller
                                 ASSOCIATE

                                 Glaser Weil Fink Howard Jordan & Shapiro LLP        amiller@glaserweil.com
                                 600 West Broadway, Suite 2150                       T 619.762.5952
                                 San Diego, CA 92101
                                 glaserweil.com | bio




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 Greg Keenan <gwkeenan24@gmail.com>                                                      Mon, Jun 17, 2024 at 8:50 PM
 To: Alexander Miller <amiller@glaserweil.com>
 Cc: Elizabeth Sperling <esperling@glaserweil.com>, Andrew Grimm <agrimm3@gmail.com>, Andrew Grimm
 <andrew@digitaljusticefoundation.org>, Gregory Keenan <gregory@digitaljusticefoundation.org>, "swodnik@grsm.com"
 <swodnik@grsm.com>, Andrew Grimm <andrew.b.grimm@gmail.com>

    Alex,

    Thank you for your professional courtesy regarding the stipulation. I have sent over the draft stipulation, as requested.

https://mail.google.com/mail/u/0/?ik=906f3e0d14&view=pt&search=…pl=msg-a:r6961499170725226932&simpl=msg-a:s:1952139986300535433         Page 7 of 8
                           Case 2:23-cv-01817-RAJ Document 23-1 Filed 06/17/24 Page 8 of 8
Gmail - Leavitt v. Central Credit--One Week Extension request                                                                     6/17/24, 11:43 PM



    Please see attached.

    Best,
    Greg

    Gregory Keenan
    Attorney
    Digital Justice Foundation
    516.633.2633
    [Quoted text hidden]


     2 attachments
          LeavittEveriWDWash 2024-06-17 Proposed Order.docx
          56K
          LeavittEveriWDWash 2024-06-17 Leavitt Ext Req.docx
          59K


 Greg Keenan <gwkeenan24@gmail.com>                                                    Mon, Jun 17, 2024 at 11:09 PM
 To: Alexander Miller <amiller@glaserweil.com>
 Cc: Elizabeth Sperling <esperling@glaserweil.com>, Andrew Grimm <agrimm3@gmail.com>, Andrew Grimm
 <andrew@digitaljusticefoundation.org>, Gregory Keenan <gregory@digitaljusticefoundation.org>, "swodnik@grsm.com"
 <swodnik@grsm.com>, Andrew Grimm <andrew.b.grimm@gmail.com>

    Hi Alex,

    Looking to put this on file. Can you get back to us in the next twenty minutes or so?

    Best,
    Greg
    [Quoted text hidden]




https://mail.google.com/mail/u/0/?ik=906f3e0d14&view=pt&search=…pl=msg-a:r6961499170725226932&simpl=msg-a:s:1952139986300535433        Page 8 of 8
